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                   EXHIBIT 3
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                                                                         Page 1

1                               UNITED STATES DISTRICT COURT
2                        FOR THE SOUTHERN DISTRICT OF NEW YORK
3
4              NIKE, INC.,
5                               Plaintiff,
6                   v.                              No. 1:22-CV-00983-VEC
7              STOCKX LLC
8                               Defendant.
9
10                        VIDEOTAPED DEPOSITION OF MIKE CHILD
11                             Taken in behalf of the Defendant
12                                        December 9, 2022
13
14                             *** HIGHLY CONFIDENTIAL ***
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1                       BE IT REMEMBERED THAT pursuant to Federal

2             Rules of Civil Procedure, the deposition of MIKE

3             CHILD was taken before Julie A. Walter, CSR No.

4             90-0173 on December 9, 2022, commencing at the hour

5             of 11:26 a.m., the proceedings being reported in

6             the law offices of Stoel Rives, 760 SW Ninth

7             Avenue, Suite 3000, Portland, Oregon.

8                                          *     *     *

9                                        APPEARANCES

10            DLA PIPER

11                  Mr. Marc Miller

12                  1251 Avenue of the Americas

13                  New York, New York 10020

14                  Counsel for the Plaintiff

15

16            DEBEVOISE & PLIMPTON LLP

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24

25

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1       Q.    Did you discuss the fact of your testimony today

2             with Mr. Faris?

3       A.    I don't think I understand the grammar of your

4             question.

5       Q.    Did you understand the fact that -- I'm sorry.

6             Withdrawn.

7                    Did you discuss the fact that you're testifying

8             today with Mr. Faris?

9       A.    I think he was aware that I was going to be

10            testifying, and he said good luck.             But nothing

11            beyond that.

12      Q.    Are you aware that Mr. Faris was deposed in this

13            action earlier this week?

14      A.    Yes.

15      Q.    Did you review Mr. Faris's testimony transcript in

16            preparation for your deposition?

17      A.    I did not.

18      Q.    Did you review any documents specifically to

19            prepare to testify as to Topics 2 and 17 in

20            Exhibit 1 that's in front of you?

21      A.    I reviewed a number of documents in preparation for

22            the deposition as a whole.           I don't know that I

23            reviewed any specifically for those as opposed to

24            in combination.

25      Q.    Okay.     What is your current job title?

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1       A.    Director of Digital Goods Strategy.

2       Q.    And how long have you had that title?

3       A.    Coming up on one year.

4       Q.    What was your title before that time?

5       A.    Director of Enterprise Strategy.

6       Q.    Did you have any titles prior to -- with NIKE prior

7             to director of enterprise strategy?

8       A.    I did not.

9       Q.    When did you join NIKE?

10      A.    January 2020.

11      Q.    When you joined NIKE in January of 2020 as director

12            of enterprise strategy, what were your

13            roles -- sorry, what was -- were your

14            responsibilities?

15      A.    As a member of the enterprise strategy team, I

16            would lead various projects related to corporate

17            strategy as well as managing a team of three

18            managers and analysts within the enterprise

19            strategy team to manage their careers.

20      Q.    Is the enterprise strategy team a defined sort of

21            unit within NIKE?

22      A.    Yes.

23      Q.    And who runs that team?

24      A.    Currently Jonathan Payne.

25      Q.    And did Mr. Payne run the enterprise strategy team

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1             were about to kick off a project related to NFTs.

2       Q.    BY MR. FORD:




5                   MR. MILLER:     Objection to form.

6                   THE WITNESS:     Yes.

7       Q.    BY MR. FORD:      If you will turn with me to page 14,

8             which is Bates Number Nike 0026836.                The slide says

9




12                  Was that accurate, to your understanding, as of

13            March 2021?

14                  MR. MILLER:     Objection to form.

15                  THE WITNESS:     No.

16      Q.    BY MR. FORD:      In what way was it inaccurate as of

17            March 2021?

18      A.    That was the argument that Aaron Cain was

19            presenting.      Aaron Cain was saying this is what

20            Nike should do.

21      Q.    So let's break it into two pieces.               So as of

22            March 2021,



24                  MR. MILLER:     Objection to form.

25                  THE WITNESS:     Yes.

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1             sold the Vault NFTs?

2                    MR. MILLER:     Objection to form.

3                    THE WITNESS:     That's correct.

4       Q.    BY MR. FORD:     What is your understanding of the

5             StockX Vault NFT product based on?

6       A.    Looking at the StockX Vault announcement and

7             looking at the products when it was first launched.

8       Q.    Have you ever purchased anything from StockX?

9       A.    Yes.

10      Q.    What have you purchased from StockX?

11      A.    Physical sneakers.

12      Q.    What physical sneakers?

13      A.    A number of different models.

14      Q.    About how many?

15      A.    I would say somewhere on the order of 10 or 20.

16      Q.    Over what period of time?

17      A.    Multiple years.

18      Q.    Going back how far?

19      A.    I don't remember, off the top of my head.                   I think

20            sometime early in 2020.

21      Q.    When was your most recent purchase from StockX?

22      A.    I don't remember specifically.                   It would have been

23            at least a number of months ago.

24      Q.    Would it have been after Nike filed this lawsuit?

25                   MR. MILLER:     Objection to form.

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1                   THE WITNESS:     Yes.

2       Q.    BY MR. FORD:     What did you purchase from StockX

3             most recently?

4       A.    If I recall correctly, I think the most recent

5             purchase was a pair of Nike Dunk sneakers.

6       Q.    What colorway?

7       A.    I think they were blue.

8       Q.    Why did you purchase a pair of Nike Dunk sneakers

9             from StockX?

10      A.    I wanted a pair of sneakers.              I wanted that pair of

11            sneakers.

12      Q.    Why didn't you purchase them from Nike directly?

13      A.    I attempted to, but I didn't win the draw.

14      Q.    I see.

15                  So this was a pair of sneakers that Nike

16            released -- sorry, withdrawn.

17                  What do you mean by "I didn't win the draw"?

18      A.    I entered a draw on the SNKRS app, and I did not

19            win the draw.     So I did not get the pair of

20            sneakers through Nike.

21      Q.    But you still wanted them?

22      A.    That's correct.

23      Q.    And prior to the pair of blue Nike Dunk sneakers,

24            what did you purchase from StockX?

25      A.    Other pairs of sneakers.

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1       Q.    Nike sneakers?

2       A.    Yes.

3       Q.    Entirely Nike sneakers?

4       A.    Possibly.     There may have been one or two other

5             brands.     I prefer Nike sneakers for, I think,

6             obvious reasons.

7       Q.    I'm sure Kim won't mind if you've purchased another

8             brand of sneaker at some point in your life.

9                    Do you -- have you ever attempted to return

10            anything to StockX?

11      A.    No.

12      Q.    Have you been happy with your purchases from

13            StockX?

14                   MR. MILLER:     Objection to form.

15                   THE WITNESS:     Yes.

16      Q.    BY MR. FORD:     Did you ever buy a StockX Vault NFT?

17      A.    No.

18      Q.    Were all of your StockX purchases for personal use?

19      A.    No.

20      Q.    What reason other than personal use did you

21            purchase products from StockX?

22      A.    To give them as gifts to other people.

23      Q.    Other than for personal use and as gifts, any

24            reason to buy something from StockX?

25      A.    No.

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1       Q.    What did you buy from StockX to give as gifts to

2             other people?

3       A.    There may have been other situations, but the one

4             that comes to mind I bought a pair of sneakers for

5             my sister and a pair of sneakers for her boyfriend.

6       Q.    You bought Nike sneakers for your sister and her

7             boyfriend?

8       A.    Jordan but -- so, yes, Nike, Inc.

9       Q.    Jordan brand sneakers released by Nike?

10      A.    That's correct.

11      Q.    And why didn't you buy those sneakers from Nike

12            directly?

13      A.    They were a model that had been released four or

14            five years prior, so there was no way to buy them

15            from Nike at that point.

16                          (Exhibit 25 marked)

17      Q.    BY MR. FORD:     Mr. Child, the reporter has handed

18            you a document marked as Exhibit 25 bearing the

19            Bates Stamp Nike 0029095, which is an email chain

20            between you and Eric Redmond dated January 18,

21            2022.

22                   Do you recall this email?

23      A.    Yes.

24      Q.    When was the last time you saw this email chain?

25      A.    At the time of the email -- was sent, around that

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